                 Case 1:22-cr-00112-ADA-BAM Document 16 Filed 05/10/22 Page 1 of 2
AO 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Compliance Bond



                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                   Eastern District of California                                     FILED
                                                                                                                     May 10, 2022
UNITED STATES OF AMERICA,                                                                                         CLERK, U.S. DISTRICT COURT

                                                                          )                                     EASTERN DISTRICT OF CALIFORNIA


                                                                          )
                                  v.
                                                                          )
                                                                                  Case No.       1:22-cr-00112-DAD-BAM
                                                                          )
MALIK DAVIS,                                                              )
                              Defendant

                                            APPEARANCE AND COMPLIANCE BOND

                                                          Defendant’s Agreement
I,     Malik Davis                                               (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
            (    ) to appear for court proceedings;
            (    ) if convicted, to surrender to serve a sentence that the court may impose; or
            (    ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

                                                                Type of Bond
(      ) (1) This is a personal recognizance bond.

(      ) (2) This is an unsecured bond of $                                             , with net worth of: $

(      ) (3) This is a secured bond of $                                                , secured by:

          (     ) (a) $ 1,000.00                        , in cash deposited with the court.

          (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                  (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan – and attach proof of
                   ownership and value):



                   If this bond is secured by real property, documents to protect the secured interest may be filed of record.

          (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):


                                                                                                                                                 .

                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
             Case 1:22-cr-00112-ADA-BAM Document 16 Filed 05/10/22 Page 2 of 2

                                                                  Dond
                                  II /IJD Appcarancund CompJi..cc
AO 91 (Rev. 12/fl. EDCA (Fresno

                                                                                                          satisfied and the
                                        er  this appearanc e bond end ed at any time. This bond will be
         0
Re /e~ e f_the Bond The coun ma
                                   y ord                                                                       ant reports to
                                          the def endant is found not guilty on all charges, or (2) the defend
                                  er: (I)
secunty will be released when eith
serve a sentence.

                                                                 Declaration,
                                                                                                                   of perjury that:
                                et  Wo   rth  I, the  def end ant  -  and  each surety-declare under penalty
Ownership ofthe Property/N                                                                                    bond;
                            s of  the  pro per ty  sec urin g this  appearance bond are included on the
         {l)     all ow  ner
                                                                except as described above; and
         (2)      the property is not subject to claims,                                                        de against any property,
                                uce    my   net wo  nh,  sell any   pro perty, allow further claims to be ma
         (3)      I will not red                                                                  pliance Bond is in effect.
                                                           e while this Appearance and Com
                  or do anything to reduce the valu
                                                                                                        e either ~d all the conditions
                         endant  -  and   each  sur ety -  hav e read this appearance bond and hav
Acceptance. I, the def                                                    ee 10 this Appearance and Com
                                                                                                            pliance Bond.
                                      them   exp  lained  to  me.   I agr
of release set by the coun or had
                                                                                                                                   § 1746.)
                                                    und  er pen  alty  of perjury  that this infonnation is true. (See 28 U.S.C.
                                        -declare
I, the defendant- and each surety


Dare: ;(     [,/q /22                                                     '                    D,fondanl '1 signatun


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                                                                         CLERK OF COURT

      5/10/2022                                                          /s/ Esther Valdezttrlc or DeputyClulc
Date: _ _ _ _ __                                                                        Signatwe o/Cl



Approved .
         5/10/22
Dare: _ _ _ _ __                                                                                 Jud gt '1 1/griDturt
